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    Pro Se Non-Party


    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF CALIFORNIA


    Brand Little, et al.,                        ) Case No.: 23-cv-1098
         Plaintiff,                              )
                                                 ) MOTION TO QUASH SUBPOENA


J   V.



    Pacific Seafood Procurement, LLC, et al.,
                                                 ) [FRCP 45(d)(3)]
                                                 )
                                                 )
         Defendant.                              )
    ______________)

    NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA


    PLEASE TAKE NOTICE t hat Jin Wei Liu, on behalf of L&C Seafood LLC, appearing prose and as a
    non-party to the above-captioned case, respe ctfully moves this Court for an order quashing the
    subpoena served on June 5, 2025, which commands the production of all records of Dungeness
    crab purchases, sales, and inventory management records from January 1, 2015 to the present.


    Thi s motion is made under Federa l Rule of Civil Procedure 45(d)(3), and is based on the
    accompanying Memorandum of Points and Authorities, and any other matters the Court may
    co nsider.


    DATED: July 2, 2025


    Respectfully submitted,




    JinWr
    On behalf of L&C Seafood LLC, Pro Se
